     Case 2:12-cr-00016-WFN   ECF No. 154   filed 04/16/12   PageID.305 Page 1 of 1




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 2
                            UNITED STATES DISTRICT COURT
 3                         EASTERN DISTRICT OF WASHINGTON
 4
       UNITED STATES OF AMERICA,              )
 5                                            )     No. CR-12-016-WFN-7
                         Plaintiff,           )
 6                                            )     ORDER GRANTING MOTION TO
       v.                                     )     MODIFY CONDITIONS OF RELEASE
 7                                            )
       TYLER S. McKINLEY,                     )
 8                                            )
                         Defendant.           )
 9                                            )

10            Before the court is Defendant’s Motion to allow travel outside

11    the District on or about April 20, 2012, for a period of up to four

12    days.     The Motion was decided without oral argument based upon

13    written submission of counsel for Defendant and the United States.

14            The court finds that Defendant has been in compliance with

15    conditions of release.

16            IT IS ORDERED Defendant’s Motion (ECF No. 151) is GRANTED.

17    Defendant shall be permitted to travel to Netarts Bay, Oregon, on or

18    about April 20, 2012, for a period of up to four days, with either

19    his mother or father for the purpose of attending to family matters.

20    Defendant shall not remain outside the District for more than four

21    days and shall abide by all conditions of release while outside the

22    District.     Defendant shall inform Pretrial Services of the date of

23    his departure from the District and shall report to Pretrial

24    Services and his counsel upon returning to the District.

25            DATED April 16, 2012.

26
27                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
28

      ORDER GRANTING MOTION TO MODIFY CONDITIONS OF RELEASE - 1
